Case 2:04-cr-20306-SH|\/| Document 27 Filed 04/21/05 Page 1 of 2 Page|D 32

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20306»01-Ma

VS.

LARRY WILBORN,

~._¢~_z~_._pv\_._/-._’~._,~_,,.._,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Tnis cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the Case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fronm March. 25, 2005 through. May 13, 2005 is
excludable under lB U.S.C. § 3161(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this ` day Of April, 2005.

MM/"“L--~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

i\/lemphis7 TN 38103

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

